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                      UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
     Plaintiff,                             )
                                            )
v.                                          )    Case No. CR-19-387-PRW
                                            )
CHRISTINA ROCHELLE ANGLIN,                  )
                                            )
     Defendant.                             )

                                        ORDER

         Before this Court is Defendant Christina Rochelle Anglin’s Motion for Leave to

File Under Seal and Ex Parte Application to Issue Subpoena (Dkt. 18). In the motion,

Defendant states that she “files this Motion for Leave to File Under Seal and Ex Parte

Application to Issue Subpoena” because “matters of sensitive nature are discussed therein.”

This does not provide the Court with enough information to determine whether the request

to seal should be granted, so it is accordingly DENIED.

         IT IS SO ORDERED this 2nd day of March, 2020.
